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             EXHIBIT C
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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF INDIANA
                                    INDIANAPOLIS DIVISION

  JOHN DOE 1, et al.,                                   )
                                                        )
                                Plaintiffs,             )
                                                        )
                           v.                           )       No. 1:23-cv-00542-SEB-MJD
                                                        )
  NATIONAL COLLEGIATE ATHLETIC                          )
  ASSOCIATION,                                          )
                                                        )
                                Defendant.              )



                                               ORDER

         This matter is before the Court on the motion of Plaintiffs' counsel seeking to withdraw

  their appearances on behalf of Plaintiff John Doe 7. [Dkt. 131.] The motion to withdraw is set

  for an in-person hearing on Thursday, April 18, 2024, at 3:00 p.m. (Eastern), in Courtroom

  270, United States Courthouse, 46 East Ohio Street, Indianapolis, Indiana. Plaintiff John Doe 7

  is ordered to appear in person along with at least one of Plaintiffs' attorneys. Defendant's

  counsel may appear but is not required to do so.

         Plaintiffs' counsel shall serve this Order on John Doe 7 both electronically (if possible)

  and by certified mail, return receipt requested, and shall file a Notice that they have done so,

  along with the return receipt, within fourteen days of the date of this Order.

         SO ORDERED.



         Dated: 14 MAR 2024
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  Distribution:

  Service will be made electronically on all
  ECF-registered counsel of record via email
  generated by the Court's ECF system.




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